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7
8                     UNITED STATES DISTRICT COURT FOR THE
9           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10    ELIAS VAZQUEZ,
                                                Case No.: 2:22-CV-3056
11                    Plaintiff(s),
                                                COMPLAINT FOR:
12    v.
                                                    1. NEGLIGENCE
13    AMAZON.COM SERVICES, LLC;                     2. BREACH OF EXPRESS
      AMAZON.COM, INC.;                                WARRANTIES
14    GARREN FITNESS, LLC,                          3. BREACH OF IMPLIED
                                                       WARRANTIES
15                    Defendant(s).
                                                DEMAND FOR JURY TRIAL
16
17
18                                         COMPLAINT
19          Plaintiff ELIAS VAZQUEZ alleges as follows:
20                                    I. NATURE OF THE CASE
21          1.     This action arises out of ELIAS VAZQUEZ’s personal injuries, which
22    were directly and proximately caused by a Maximiza Pull Bar (hereinafter
23    “PRODUCT”) purchased from and sold by GARREN FITNESS, LLC,
24    AMAZON.COM SERVICES, LLC, and AMAZON.COM, INC. with Order # 111-
25    9229314-3564217.
26                                         II. PARTIES
27          2.     Plaintiff ELIAS VAZQUEZ is a an individual residing in the City of
28    Bellflower, County of Los Angeles, State of California at all times alleged herein.
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                                            COMPLAINT
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1           3.      Defendant GARREN FITNESS, LLC (hereinafter “GARREN”) is a
2     Delaware limited liability company doing business other than in the State of
3     California.
4           4.      Defendant AMAZON.COM SERVICES, LLC (hereinafter
5     “AMAZON.COM SERVICES”) is a foreign corporation doing business in a State
6     other than the State of California.
7           5.      Defendant AMAZON.COM, INC. (hereinafter “AMAZON.COM”) is a
8     foreign corporation doing business in a State other than the State of California.
9                                III. JURISDICTION AND VENUE
10          6.      Plaintiff is a citizen of the State of California.
11          7.      Defendant GARREN is a corporation incorporated under the laws of the
12    State of Delaware having its principal place of business other than in the State of
13    California.
14          8.      Defendant AMAZON.COM SERVICES is a corporation incorporated
15    under the laws of the State of Washington having its principle place of business in a
16    State other than the State of California.
17          9.      Defendant AMAZON.COM is a corporation incorporated under the laws
18    of the State of Washington having its principle place of business in a State other than
19    the State of California.
20          10.     The matter in controversy exceeds, exclusive of interest and costs, the
21    sum specified by 28 U.S.C. Sec. 1332.
22          11.     Venue is proper in the United States District Court for the Central
23    District of California pursuant to 28 U.S.C. §1391(b)(2). A substantial part of the
24    events, acts, or omissions giving rise to these claims occurred in Los Angeles County,
25    California. Los Angeles County is in the Central District of California pursuant to 28
26    U.S.C. §128(b).
27    ///
28    ///
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                                               COMPLAINT
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1                                            IV. FACTS
2           12.     Upon information and belief, the PRODUCT was designed, developed,
3     manufactured, tested, packaged, and/or distributed to AMAZON.COM SERVICES
4     and AMAZON.COM by GARREN.
5           13.     At all pertinent times, GARREN was engaged in the business of research,
6     development, manufacturing, design, testing, distributing, promoting, marketing
7     and/or selling the PRODUCT, introduced the PRODUCT into interstate commerce
8     with knowledge and intent that the PRODUCT would be sold in the State of
9     California, and regularly transacted, solicited, and conducted business in the State of
10    California.
11          14.     At all pertinent times, AMAZON.COM SERVICES was engaged in the
12    business of distributing, promoting, marketing, and/or selling the PRODUCT,
13    introduced the PRODUCT into interstate commerce with knowledge and intent that
14    the PRODUCT would be sold in the State of California, and regularly transacted,
15    solicited and conducted business in the State of California.
16          15.     At all pertinent times, AMAZON.COM was engaged in the business of
17    distributing, promoting, marketing, and/or selling the PRODUCT, introduced the
18    PRODUCT into interstate commerce with knowledge and intent that the PRODUCT
19    would be sold in the State of California, and regularly transacted, solicited, and
20    conducted business in the State of California.
21          16.     On March 25, 2020, Plaintiff purchased the PRODUCT on Amazon.com
22    and was fulfilled by Amazon.
23          17.     On May 11, 2020, in Bellflower, California, Plaintiff was using the
24    PRODUCT as designed, specifically pull-up exercises, when the PRODUCT failed
25    causing Plaintiff to fall to the floor causing permanent injuries to Plaintiff.
26          18.     Plaintiff suffered injuries as a direct and proximate result of the
27    unreasonably dangerous and defective nature of the PRODUCT, and Defendants’
28    negligent conduct in the research, design, development, testing, manufacturing,
                                                   3
                                              COMPLAINT
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1     production, promotion, distribution, marketing, warning, and sale of PRODUCT. As
2     a direct and proximate result of these injuries Plaintiff has incurred damages, which
3     include, but are not limited, past and future medical expenses, permanent physical
4     impairment, and past and future mental, physical, and emotion pain and suffering and
5     loss of enjoyment of life.
6           19.    Plaintiff’s damages are a direct and proximate result of Defendants’
7     negligent conduct in connection with the design, development, manufacturing, testing,
8     packaging, promoting, marketing distribution, labeling, warning and/or sale of the
9     PRODUCT.
10          20.    Defendants had a duty to know and warn about hazards associated with
11    the use of the PRODUCT.
12          21.    Defendants had a duty not to place the PRODUCT on the market in a
13    defective and unreasonably dangerous condition.
14          22.    Defendants failed to inform their customers and end users of the
15    PRODUCT of a known catastrophic health hazard associated with the use of its
16    product.
17          23.    Defendants’ conduct, acts, and/or omissions were a direct and proximate
18    cause and/or were a substantial factor in causing injuries and damages to Plaintiff,
19    including, but not limited to, past and future medical expenses, permanent physical
20    impairment, past and future mental, physical and emotional pain and suffering and
21    loss of enjoyment of life.
22          24.    All amounts claimed herein are in excess of the minimal jurisdictional
23    limits of this Court.
24    ///
25    ///
26    ///
27    ///
28    ///
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                                             COMPLAINT
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1                                   V. CAUSES OF ACTION
2           25.    Plaintiff re-alleges and incorporates by reference the allegations
3     contained in paragraphs 1-24.
4                                 FIRST CAUSE OF ACTION:
5                                        NEGLIGENCE
6           26.    At all times hereinafter mentioned, the Defendants, knew or should have
7     known and had actual and constructive notice, that the PRODUCT was extremely and
8     unreasonably dangerous, hazardous and not reasonably safe for its intended purposes
9     and foreseeable uses.
10          27.    Plaintiff is informed and believes and thereon alleges, Defendants, and
11    each of them, owed a duty of care to Plaintiff.
12          28.    Plaintiff is informed and believes and thereon alleges, Defendants, and
13    each of them, breached the above-mentioned duty of care because defendants and/or
14    their agents, servants and/or employees failed to use the amount of care in designing,
15    manufacturing, inspecting, installing, and/or repairing the PRODUCT that a
16    reasonably careful designer, manufacturer, supplier, installer, and/or repairer would
17    use in similar circumstances to avoid exposing others to a foreseeable risk of harm.
18          29.    Plaintiff is informed and believes and thereon alleges, Defendants, and
19    each of them, breached the above-mentioned duty of care because defendants and/or
20    their agents, servants and/or employees failed to take reasonable steps to ensure that
21    the PRODUCT was reasonably safe for its intended use, failed to exercise reasonable
22    care and to properly test the PRODUCT, and failed to employ reasonable and
23    appropriate quality assurance procedures relative to exercise equipment.
24          30.    Plaintiff is informed and believes and thereon alleges, Defendants, and
25    each of them, knew or should have known about the likelihood and severity of
26    potential harm from the PRODUCT. Whereas, the burden of taking safety measures
27    to reduce or avoid the harm was minimal. Defendants failed to exercise reasonable
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                                             COMPLAINT
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1     care to avoid an unreasonable risk of harm to persons likely to be exposed to danger
2     when the PRODUCT is used in its intended and foreseeable manner.
3           31.    Plaintiff is informed and believes and thereon alleges, Defendants, and
4     each of them, and/or their agents, servants and/or employees were careless, negligent,
5     grossly negligent reckless, knowing, intentional, willful, and wanton, and acted with
6     gross indifference and conscious disregard for the safety and well-being of the
7     consumer and the general public, including Plaintiff.
8           32.    Plaintiff is informed and believes and thereon alleges, Defendants, and
9     each of them, designed, manufactured, sold, supplied, installed, inspected, repaired,
10    and/or rented the PRODUCT.
11          33.    Plaintiff is informed and believes and thereon alleges, Defendants, and
12    each of them, were negligent in designing, manufacturing, selling, supplying,
13    installing, inspecting, repairing, and/or renting the PRODUCT.
14          34.    Plaintiff is informed and believes and thereon alleges, Defendants, and
15    each of them, knew or reasonably should have known that the PRODUCT was
16    dangerous or was likely to be dangerous when used or misused in a reasonably
17    foreseeable manner.
18          35.    Plaintiff is informed and believes and thereon alleges, Defendants, and
19    each of them, knew or reasonably should have known that users would not realize the
20    danger.
21          36.    Plaintiff is informed and believes and thereon alleges, Defendants, and
22    each of them, failed to adequately warn of the danger or instruct on the safe use of the
23    PRODUCT.
24          37.    A reasonable manufacturer, distributor, seller, supplier, installer,
25    inspecter, repairer, and/or renter under the same or similar circumstances would have
26    warned of the danger or instructed on the safe use of the PRODUCT.
27    ///
28    ///
                                                  6
                                             COMPLAINT
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1             38.   Plaintiff is informed and believes and thereon alleges, Defendants, and
2     each of them, failure to warn or instruct was a substantial factor in causing Plaintiff’s
3     harm.
4             39.   Plaintiff is informed and believes and thereon alleges, Defendants, and
5     each of them failed to recall, retrofit, warn, and/or cease the sale of the PRODUCT
6     after learning of the accidents caused by the dangerous PRODUCT.
7             40.   A reasonable manufacturer, distributor, and/or seller, under the
8     circumstances would have recalled, retrofitted, warned, and/or ceased the sale of the
9     PRODUCT after learning of the accidents cause by the dangerous PRODUCT.
10            41.   Plaintiff is informed and believes and thereon alleges, Defendants, and
11    each of them, and their failure to recall, retrofit, warn, and/or cease the sale of the
12    PRODUCT was a substantial factor in causing Plaintiff’s harm.
13            42.   Plaintiff is informed and believes and thereon alleges, Defendants, and
14    each of them, and all of their conduct, negligence, acts and/or omissions described
15    herein were the direct and proximate cause and/or substantial factor causing the
16    injuries sustained by Plaintiff.
17            43.   In contrast to the Defendants, at the time of the INCIDENT, Plaintiff was
18    acting with due caution, attention and care and did not in any way contribute to, or
19    cause the damages, harm, and/or injuries as described herein.
20            44.   As a direct and proximate result of the incident described herein, Plaintiff
21    was caused significant general and special damages including but not limited to,
22    medical expense, significant property damage, and further that Plaintiff endured, and
23    will continue to endure, enormous pain and suffering as well as loss of enjoyment of
24    life, and has suffered and will continue to suffer loss of earnings.
25            45.   By reason of the foregoing, Plaintiffs are entitled to and demand
26    compensatory damages from defendants in such sums as a jury would find fair, just,
27    and adequate, and Plaintiffs are further entitled to and demand punitive and exemplary
28    damages from defendants in such an amount as a jury would find fair, just and
                                                   7
                                              COMPLAINT
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1     appropriate to punish defendants and others from future similar misconduct.
2                                            COUNT 1:
3                                      STRICT LIABILITY
4           46.    Plaintiffs hereby incorporate by reference each and every allegation and
5     statement contained in all preceding paragraphs 1-45 of this complaint, and
6     incorporate them by reference in their entirety, as though fully set forth herein.
7           47.    Plaintiff is informed and believes and thereon alleges, Defendants, and
8     each of them, are strictly liable in tort for the defective design, development,
9     engineering, fabrication, manufacture, productions, warnings, labeling, inspection,
10    testing, marketing, promotion, distribution, sale and/or placement into the stream of
11    commerce the PRODUCT, which defects caused the aforementioned occurrence and
12    serious injuries sustained by the Plaintiff.
13          48.    Plaintiff is informed and believes and thereon alleges, at the time of the
14    design, development, engineering, fabrication, manufacture, production, procurement,
15    packaging, warning, labeling, inspection, testing, marketing, promotions, distribution,
16    sale and placement into the stream of commerce the PRODUCT was defective,
17    hazardous, unreasonably dangerous, and not reasonably safe for its intended use.
18          49.    Plaintiff is informed and believes and thereon alleges, at all times herein
19    relevant, the dangers from the PRODUCT vastly outweighed its utility.
20          50.    Plaintiff is informed and believes and thereon alleges, at the time of the
21    design, development, engineering, fabrication, manufacture, production, procurement,
22    packaging, warning, labeling, inspection, testing, marketing, promotions, distribution,
23    sale and/or placement into the stream of commerce of the PRODUCT, there were
24    safer feasible alternative designs for the PRODUCT.
25          51.    Plaintiff is informed and believes and thereon alleges, at the time of the
26    design, development, engineering, fabrication, manufacture, production, procurement,
27    packaging, warning, labeling, inspection, testing, marketing, promotions, distribution,
28    sale and/or placement into the stream of commerce of the PRODUCT, Defendants,
                                                     8
                                              COMPLAINT
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1     and/or their agents, servants and/or employees, provided defective warnings and
2     instructions regarding the dangers and use of the PRODUCT. Among other defects,
3     said warnings and instructions were defective in that Defendants failed to provide and
4     place proper instructions and adequate warnings for the PRODUCT; Defendants failed
5     to provide proper, adequate, necessary and sufficient warnings for the PRODUCT;
6     Defendants knowingly, consciously and willfully provided warnings regarding the
7     dangers of the use of the PRODUCT that were grossly inadequate and insufficient in
8     their content and placement and not commensurate with the degree of hazard
9     presented by these products; and defendants failed to warn plaintiffs and others of the
10    dangers associated with the PRODUCT.
11          52.    Plaintiff is informed and believes and thereon alleges, the PRODUCT
12    was so inherently dangerous that it should never have been placed into the stream of
13    commerce and should never have been manufactured, produced, packaged, labeled,
14    marketed, distributed, sold and/or placed into the stream of commerce.
15          53.    Plaintiff is informed and believes and thereon alleges, the conduct of
16    Defendants and/or their agents, servants and/or employees, in designing, developing,
17    engineering, fabrication, manufacture, production, procurement, packaging, warning,
18    labeling, inspection, testing, marketing, promotions, distribution, selling and/or
19    placing into the stream of commerce of the PRODUCT’s defective and not reasonably
20    safe condition, was knowing, intentional, willful, wanton, and with gross indifference
21    and conscious disregard for the safety and well-being of the consumers and the
22    general public, including Plaintiff.
23          54.    Plaintiff is informed and believes and thereon alleges, the PRODUCT
24    was defective and unsafe when the PRODUCT was placed into the stream of
25    commerce by Defendants and was a substantial factor in causing injuries to Plaintiffs.
26          55.    At the time of the occurrence referred to in paragraphs above, the subject
27    PRODUCT was being used for the purpose and in the manner normally intended by
28    Defendants and was being used in a manner that was reasonably foreseeable to
                                                 9
                                             COMPLAINT
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1      defendants.
2            56.     By the exercise of reasonable care, Plaintiffs would not have discovered
3      the PRODUCT’s defects nor perceived the danger associated with the PRODUCT.
4            57.     Plaintiff is informed and believes and thereon alleges, the conduct,
5      negligence, acts and/or omissions of Defendants were the direct and proximate cause
6      and/or substantial factor causing the injuries sustained by Plaintiff, without any
7      negligence attributable in any measure to Plaintiff.
8            58.     As a direct and proximate result of the incident described herein, Plaintiff
9      was caused significant general and special damages including but not limited to,
10     medical expense, significant property damage, and further that Plaintiff endured, and
11     will continue to endure, enormous pain and suffering as well as loss of enjoyment of
12     life, and has suffered and will continue to suffer loss of earnings.
13           59.     By reason of the foregoing, Plaintiffs are entitled to and demand
14     compensatory damages from defendants in such sums as a jury would find fair, just,
15     and adequate, and Plaintiffs are further entitled to and demand punitive and exemplary
16     damages from defendants in such an amount as a jury would find fair, just and
17     appropriate to punish defendants and others from future similar misconduct.
18                                            COUNT 2:
19                   STRICT LIABILITY – MANUFACTURING DEFECT
20           60.     Plaintiffs hereby incorporate by reference each and every allegation and
21     statement contained in all preceding paragraphs 1-59 of this complaint, and
22     incorporate them by reference in their entirety, as though fully set forth herein.
23           61.     Plaintiff is informed and believes and thereon alleges, Defendants, and
24     each of them, and or their agents, servants and/or employees manufactured,
25     distributed, and/or sold the PRODUCT.
26           62.     Plaintiff is informed and believes and thereon alleges, the PRODUCT
27     contained a manufacturing defect when it left Defendants’ possession.
28           63.     Plaintiff is informed and believes and thereon alleges, the PRODUCT’s
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                                               COMPLAINT
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1      defect was a substantial factor in causing Plaintiff’s harm.
2            64.    As a direct and proximate result of the incident described herein, Plaintiff
3      was caused significant general and special damages including but not limited to,
4      medical expense, significant property damage, and further that Plaintiff endured, and
5      will continue to endure, enormous pain and suffering as well as loss of enjoyment of
6      life, and has suffered and will continue to suffer loss of earnings.
7            65.    By reason of the foregoing, Plaintiffs are entitled to and demand
8      compensatory damages from defendants in such sums as a jury would find fair, just,
9      and adequate, and Plaintiffs are further entitled to and demand punitive and exemplary
10     damages from defendants in such an amount as a jury would find fair, just and
11     appropriate to punish defendants and others from future similar misconduct.
12                                            COUNT 3:
13                          STRICT LIABILITY – DESIGN DEFECT
14           66.    Plaintiffs hereby incorporate by reference each and every allegation and
15     statement contained in all preceding paragraphs 1-65 of this complaint, and
16     incorporate them by reference in their entirety, as though fully set forth herein.
17           67.    Plaintiff is informed and believes and thereon alleges, Defendants, and
18     each of them, and or their agents, servants and/or employees manufactured,
19     distributed, and/or sold the PRODUCT.
20           68.    Plaintiff is informed and believes and thereon alleges, the PRODUCT did
21     not perform as safely as an ordinary consumer would have expected it to perform
22     when used or misused in an intended or reasonably foreseeable way.
23           69.    Plaintiff is informed and believes and thereon alleges, the gravity of the
24     potential harm from using the PRODUCT, the likelihood that this harm would occur,
25     the feasibility of an alternative safer design at the time of manufacture, the costs of an
26     alternative design, and the disadvantages of an alternative design all made the risks of
27     the PRODUCT’s design far outweigh the benefits of the PRODUCT’s design.
28           70.    Plaintiff is informed and believes and thereon alleges, the PRODUCT’s
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                                               COMPLAINT
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1      design and failure to perform safely was a substantial factor in causing Plaintiff’s
2      harm.
3              71.   As a direct and proximate result of the incident described herein, Plaintiff
4      was caused significant general and special damages including but not limited to,
5      medical expense, significant property damage, and further that Plaintiff endured, and
6      will continue to endure, enormous pain and suffering as well as loss of enjoyment of
7      life, and has suffered and will continue to suffer loss of earnings.
8              72.   By reason of the foregoing, Plaintiffs are entitled to and demand
9      compensatory damages from defendants in such sums as a jury would find fair, just,
10     and adequate, and Plaintiffs are further entitled to and demand punitive and exemplary
11     damages from defendants in such an amount as a jury would find fair, just and
12     appropriate to punish defendants and others from future similar misconduct.
13                                            COUNT 4:
14                        STRICT LIABILITY – FAILURE TO WARN
15             73.   Plaintiffs hereby incorporate by reference each and every allegation and
16     statement contained in all preceding paragraphs 1-72 of this complaint, and
17     incorporate them by reference in their entirety, as though fully set forth herein.
18             74.   Plaintiff is informed and believes and thereon alleges, Defendants, and
19     DOES 1 to 100, inclusive, and each of them, and or their agents, servants and/or
20     employees manufactured, distributed, and/or sold the PRODUCT.
21             75.   Plaintiff is informed and believes and thereon alleges, the PRODUCT
22     had potential risks that were known or knowable in light of the scientific knowledge
23     that was generally accepted in the scientific community at the time of manufacture,
24     distribution, and/or sale of the PRODUCT.
25             76.   Plaintiff is informed and believes and thereon alleges, the PRODUCT’s
26     risk presented a substantial danger when the PRODUCT is used or misused in an
27     intended or reasonably foreseeable way.
28             77.   Ordinary customers, such as Plaintiff, would not have recognized the
                                                  12
                                               COMPLAINT
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1      potential risks.
2              78.   Plaintiff is informed and believes and thereon alleges, Defendants, and
3      each of them, failed to adequately warn or instruct of the potential risks.
4              79.   Plaintiff is informed and believes and thereon alleges, the lack of
5      sufficient instructions and/or warnings was a substantial factor in causing Plaintiff’s
6      harm.
7              80.   As a direct and proximate result of the incident described herein, Plaintiff
8      was caused significant general and special damages including but not limited to,
9      medical expense, significant property damage, and further that Plaintiff endured, and
10     will continue to endure, enormous pain and suffering as well as loss of enjoyment of
11     life, and has suffered and will continue to suffer loss of earnings.
12             81.   By reason of the foregoing, Plaintiffs are entitled to and demand
13     compensatory damages from defendants in such sums as a jury would find fair, just,
14     and adequate, and Plaintiffs are further entitled to and demand punitive and exemplary
15     damages from defendants in such an amount as a jury would find fair, just and
16     appropriate to punish defendants and others from future similar misconduct.
17                                SECOND CAUSE OF ACTION:
18                           BREACH OF EXPRESS WARRANTIES
19             82.   Plaintiff hereby incorporates by reference each and every allegation and
20     statement contained in all preceding paragraphs 1-81 of this complaint, and
21     incorporate them by reference in their entirety, as though fully set forth herein.
22             83.   Plaintiff is informed and believes and thereon alleges, Defendants, and
23     each of them, expressly and/or impliedly warranted and represented by its
24     advertisements, marketing, promotions, labeling and/or oral and written
25     communications to the purchaser and others, including plaintiffs, that the
26     aforementioned PRODUCT was safe, proper, merchantable and fit for foreseeable,
27     customary, usual and intended uses.
28             84.   Plaintiff is informed and believes and thereon alleges, Defendants, and
                                                  13
                                               COMPLAINT
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1      each of them, knew or should have known and had actual and/or constructive
2      knowledge that the PRODUCT would fail causing injuries; that purchaser and/or
3      consumer, including Plaintiff, would rely upon the warranties and representations that
4      the PRODUCT was safe, proper, merchantable and fit for foreseeable, customary,
5      usual and intended uses.
6            85.      Plaintiff took reasonable steps to notify Defendants within a reasonable
7      time that the PRODUCT was not as represented, whether or not Defendant received
8      such notice.
9            86.      Plaintiff is informed and believes and thereon alleges, Defendants, and
10     each of them, failed to repair, recall, or retrofit the PRODUCT as required by the
11     warranty.
12           87.      Plaintiff is informed and believes and thereon alleges , at all times herein
13     relevant, the PRODUCT was unsafe, unmerchantable and unfit for their foreseeable,
14     customary, usual and intended uses.
15           88.      Plaintiff is informed and believes and thereon alleges, the failure of the
16     product to be as represented was a substantial factor in causing Plaintiff’s harm.
17           89.      As a direct and proximate result of the incident described herein, Plaintiff
18     was caused significant general and special damages including but not limited to,
19     medical expense, significant property damage, and further that Plaintiff endured, and
20     will continue to endure, enormous pain and suffering as well as loss of enjoyment of
21     life, and has suffered and will continue to suffer loss of earnings.
22           90.      By reason of the foregoing, Plaintiffs are entitled to and demand
23     compensatory damages from defendants in such sums as a jury would find fair, just,
24     and adequate, and Plaintiffs are further entitled to and demand punitive and exemplary
25     damages from defendants in such an amount as a jury would find fair, just and
26     appropriate to punish defendants and others from future similar misconduct.
27     ///
28     ///
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                                                COMPLAINT
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1                                  THIRD CAUSE OF ACTION:
2                            BREACH OF IMPLIED WARRANTIES
3            91.    Plaintiffs hereby incorporate by reference each and every allegation and
4      statement contained in all preceding paragraphs 1-90 of this complaint, and
5      incorporate them by reference in their entirety, as though fully set forth herein.
6            92.    Plaintiff is informed and believes and thereon alleges, Defendants, and
7      each of them, expressly and/or impliedly warranted and represented to the purchaser
8      and others, including Plaintiff, that the PRODUCT was safe, proper, merchantable and
9      fit for foreseeable, customary, usual and intended uses.
10           93.    Plaintiff is informed and believes and thereon alleges, Defendants, and
11     each of them, knew or should have known and had actual and/or constructive
12     knowledge that the PRODUCT would fail causing injuries; that purchasers and/or
13     consumers and others in the vicinity of said products, including Plaintiff, would rely
14     upon the warranties and representations that said products were safe, proper,
15     merchantable and fit for their foreseeable and intended uses.
16           94.    Plaintiff is informed and believes and thereon alleges, at all times herein
17     relevant, Plaintiffs relied on the aforementioned warranties that the PRODUCT was
18     safe, proper, merchantable and fit for foreseeable, customary, usual and intended uses.
19           95.    Plaintiff is informed and believes and thereon alleges, at all times herein
20     relevant, the PRODUCT was unsafe, unmerchantable and unfit for their foreseeable,
21     customary, usual and intended uses.
22           96.    Plaintiff bought the PRODUCT from Defendants, and each of them on or
23     about March 25, 2020.
24           97.    Plaintiff is informed and believes and thereon alleges, at the time of
25     purchase, Defendants, and DOES 1 to 100, inclusive, and each of them, were in the
26     business of selling these good and/or held themselves out as having special knowledge
27     or skill regarding these goods.
28           98.    Plaintiff is informed and believes and thereon alleges, the PRODUCT
                                                  15
                                              COMPLAINT
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1      was not of the same quality as those generally acceptable in the trade, was not fit for
2      the ordinary purposes for which such goods are sued, and/or did not conform to the
3      quality established by the parties’ prior dealing or by usage of trade.
4              99.   Plaintiff took reasonable steps to notify Defendants, within a reasonable
5      time that the PRODUCT did not have the expected quality.
6              100. Plaintiff is informed and believes and thereon alleges, the failure of the
7      PRODUCT to have the expected quality was a substantial factor in causing Plaintiff’s
8      harm.
9              101. As a direct and proximate result of the incident described herein, Plaintiff
10     was caused significant general and special damages including but not limited to,
11     medical expense, significant property damage, and further that Plaintiff endured, and
12     will continue to endure, enormous pain and suffering as well as loss of enjoyment of
13     life, and has suffered and will continue to suffer loss of earnings.
14             102. By reason of the foregoing, Plaintiffs are entitled to and demand
15     compensatory damages from defendants in such sums as a jury would find fair, just,
16     and adequate, and Plaintiffs are further entitled to and demand punitive and exemplary
17     damages from defendants in such an amount as a jury would find fair, just and
18     appropriate to punish defendants and others from future similar misconduct.
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                                               COMPLAINT
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1            WHEREFORE, having fully stated its causes of action, plaintiff prays for a
2      judgment:
3            1.     For general damages, special damages, and compensatory damages in an
4      amount that is fair and reasonable as established by the evidence.
5            2.     For Plaintiff’s costs incurred in bringing and prosecuting this action.
6
             3.     For a trial by jury;
7
8            4.     For pre- and post-judgment interest;

9            5.     For such other and further relief as the court finds just and equitable.
10
11     DATED: May 6, 2022                                    NP LAW FIRM, APC
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13
                                                       By:      /s/ Lee Previant, Esq.
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20                                                           Elias Vazquez
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                                              COMPLAINT
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1                                  DEMAND FOR JURY TRIAL
2            Plaintiff hereby demands a jury trial as provided by Rule 38(a) of the Federal
3      Rules of Civil Procedure.
4
5      DATED: May 6, 2022                                  NP LAW FIRM, APC
6
7
                                                     By:      /s/ Lee Previant, Esq.
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                                             COMPLAINT
